        Case 4:13-cr-00021-JLK                 Document 96            Filed 11/07/14            Page 1 of e1
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                                                                                                                        .,51.% - 'lr
                                                                                                                       AYM Mklkktp9*
 A02458       (Rev.9/ll-VAW Addi
                               tions6/
                                     95)JudgmentinaCri
                                                     minalCast                                                            FIUYU
              Sheet1
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                                      UNITED STA TES DISTRICT COURT                                                  Jukw
                                                 W estern D istrictofV irginia                                          DE

         UNITED STATESOFAMERICA                                        A JDGM ENT IN A CRIM INAL CASE
                                                                       Case Num ber: DVAW 413CR00002l-002
      RODN EY DW AYNE JONES                                            CaseN um ber:
                                                                       U SM N um ber: 17907-084
                                                                       Rena G.Beny
                                                                       Defendant'sAttonxy
THE DEFENDANT:
Xlpleadedguiltytocountts) l
Z pleadednolocontenderetocountts)
   which wasacceptedbythecourt.
Z wasfoundguil
             tyoncountts)
   afterapleaofnotguilty,

Thedefendantisadjudioatedguiltyoftheseoffenses:
 Title & Section               NatureofO ffense                                                        O ffense Ended             Count
21U.S.C.j846           ConspiracytoDistributeM oreThan FiveKilogramsofCocaine                              1/1/2013




       Thedefendantissentencedasprovidedinpages2through                       6      ofthisjudgment.Thesentenceisimposedpursuantto
the Sentencing Reform Actof1984.
Z Thedefendanthasbeenfoundnotguiltyoncountts)
Z Countls)                                  Z is E(IaredismissedonthemotionoftheUnitedStates.
     iliItisorderedthatthedefendptmustnotifytheUnjtedStatesattorpeyforthisdiltràctwithin30daysofpnychangeofname,residepce
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                                                                                                                   pald.lforderedtopayrestitutlon,
                                                                       11/7/2014
                                                                       DateofImpositionofJudgment
                                                                                                                             N

                                                                                                             (
                                                                       Signatu ofJu ge



                                                                       Jackson L.K iser,SeniorUnited StatesDistrictJudge
                                                                       Name and TitleofJudge

                                                                       tt
                                                                       Date
                                                                                            t
         Case 4:13-cr-00021-JLK                  Document 96         Filed 11/07/14       Page 2 of 6       Pageid#: 290
AO2458       (Rev.9/1l-VAW Additions6/05)JudgmentinCriminalCase
             Sheet2 -lm prisonment
                                                                                                Judgment-Page   2   of     6
D EFEN D AN T: RODNEY DW AY NE JONES
CA SE N UM BER :DVAW 413CR000021.002


                                                            IM PRISONM ENT

       Thedefendantisherebycomm ittedtothecustody oftheUnitedStatesBureauofPrisonstobeimprisonedfora
totalterm of:
   100 months.




  K ThecourtmakesthefollowingrecommendationstotheBureauofPrisons:
  thatthedefendantparticipateintheResidentialDrugTreatmentProgram whileimprisoned.



  Z ThedefendantisremandedtothecustodyoftheUnitedStatesMarshal.
  X ThedefendantshallsurrendertotheUnitedStatesMarshalforthisdistrict:
    IZJ at                           Q a.m. Z p.m.
    K asnotifiedbytheUnitedstatesMarshaI.AFTER JANUARY 2,2015.
  N ThedefendantshallsurrenderforserviceofsentenceattheinstitutiondesignatedbytheBureau ofPrisons:
         N     before            on
         I-I asnotifiedby theUnited StatesM arshal.
         N     asnotifiedbytheProbationorPretrialServicesOffice.

                                                                  R ET U R N
 Ihaveexecutedthisjudgmentasfollows:




         Defendantdeliveredon                                                     to

 a                                                   ,withacertifiedcopyofthisjudgment.


                                                                                             UNITEDSTATESM RSI'
                                                                                                              IAL

                                                                       By
                                                                                          DEPUTY UNITED STATESMARSHAL
          Case 4:13-cr-00021-JLK             Document 96          Filed 11/07/14     Page 3 of 6         Pageid#: 291


AO 2458     (Rcv.9/11-VAW Additions6/05)JudgmentinaCriminalCasc
            Sheet3- SupervisedRelease
                                                                                            Judgnlent--page   3    of       6
DEFEN DANT: RODNEY DW AYNE JONES
CASE NUM BER:DVAW 413CR000021-002
                                                   SUPERVISED R ELEA SE
Uponreleasefrom im prisonment,thedefendantshallbeonsupervisedreleaseforaterm of:
5 years.

        Thedefendantmustreportto the probation officein the districttowhich the defendantisreleasedw ithin 72 hoursofreleasefrom the
custody oftheBureau ofPrisons.
Thedefendantshallnotcomm itanotherfederal,stateorlocalcrim e.
ThedefendantshallnotunlawfullyppssessacontrolledspbltancesThedefendantshallreflainfrom anyunlawfuluseo(aqontrolled
substance.Thedefepdantshallsubmlttoonedrugtestwlthln 15daysofreleuefrom imprlsonmentandatleasttwoperlodlcdrugtests
thereafter,asdetennlnedbythecourt.
(Z) Theabovedrugtestingconditionissuspended,basedonthecourt'sdeterminationthatthedefendantposesalow riskof
      futuresubstanceabuse.(check fapplicable.
                                             )
K     Thedefendantshallnotpossessafirearm,ammunition,destructivedevice,oranyotherdangerousweapon.(Check t fapplicable.
                                                                                                                     )
K     ThedefendantshallcooperateinthecollectionofDNA asdirectedbytheprobationofficer. (Check,fapplicable.
                                                                                                        )
      Thedefendantshallcomplywith thereqB
                                        uirementsoftheSexOffenderRegistrationandNotijicationAct(42U.S.C.j16901,qtseq.j
                                              -

      asdir
          ectedby thep r
                       obat
                          lonoffi
                                g er,
                                    the  ureapojprisons,oranystatesexoffenderregistratlonagencylnwhichheorsheresldes,
      works,isastudent,orwasconvlctedofaquallfylngoffense. (Check,tfapplicable)
      Thedefendantshallparticipateinanapprovedprogram fordom esticviolence.(check,fapplicable.
                                                                                             )
         Ifthisjudgmentimposeyafineorrestitution,itisaconditionofsupervisedreleasethatthedefendantpayinaccordancewiththe
 ScheduleofPaymentssheetofthlsjudgment.
         Thedefendantmustcom plywiththestandardconditionsthathavebeenadoptedby thiscourtaswellaswithanyadditionalconditions
on theattached page.
                                        STANDARD CO NDITIONS OF SUPERVISIO N
       thedefendantshallnotleavethejudicialdistrictwithoutthepermissionofthecourtorprobationofficer;
    2) thedefendantshallreporttotheprobationofficerinamannerandfrequency directed bythecourtorprobationofficer;
    3) thedefendantshallanswertruthfullyallinquiriesbytheprobationofficerand follow theinstructionsoftheprobationofficer;
    4) thedefendantshallsupporthisorherdependentsandmeetotherfamilyresponsibilities;
    5) thedefendantshallworkregularlyatalawfuloccupation,unlessexcused bytheprobation officerforschooling,training,orother
          acceptablereasons;
          thedefendantshallnotifytheprobationoftk eratleasttendayspriortoanychangein residenceoremploym ent;
          thedefendantshallrefrainfrom excessiyeuseofalcoholandshallnotpurchase,possess,use,djstribute,oradpinisterany
          controlled substanceoranyparaphernallarelatedtoanycontrolled substances,exceptasprescrlbedby aphyslcian;
    8) thedefendantshallnotfrequentplaceswherecontrolledsubstancesareillegallysold,used,distributed,oradministered;
    9) thedefendantshallnotassosialewith any personsengagedincriminalactivityandshallnotassociatewith any person convictedofa
          felony,unlessgrantedperm lsslon todoso by theprobatlonofficer;
  l0) thedefendantshallpem itqprgbationoftkertoyisithimorheratanytimeathomeorelsewhereand shallpermitconfiscationofany
          contrabandobserved ln plalnvlew oftheprobatlon officer;
          thedefendantshallnotifytheprobationofficerwithinseventp twohoursofbeingarrestedorquestionedbyalaw enforcementofficer;
  12) thedsfepdantshallnotenterintoany agreementto actasan informerora specialagentofalaw enforcementagency withoutthe
          permlsslon ofthecourt;and

          asdirectedbytheprpbation officer,thsdefendantshallnotifythird partiesofrisksthatmay beoccasionedbythedefendant'scriminal
          recordorpersonalhlstoryorcharacterlsticsandshallpermittheprobation oftk ertom akesuch notificationsandtoconfirm the
          defendanPscompliancew ith suchnotificationrequirement.
        Case 4:13-cr-00021-JLK               Document 96          Filed 11/07/14       Page 4 of 6        Pageid#: 292
 AO 2458    (Rev.9/11-VAW Additions6/05)JudgmentinaCriminalCase
            Sheet3C -SupervisedRelemse
                                                                                              Judgm ent-page   4   of    6
 DEFEN DA N T: RODNEY DW AYNE JONES
 CA SE N UM BER: DVAW 413CR000021.002
                                     SPECIAL C ONDITIONS O F SUPERVISIO N
1.Thedefendantshallpayanyspecialassessmentthatisimposedbythisjudgment.
2. The defendantshallprovidetheprobation ofticerw ith accessto any requested tinancialinfonnation.
3. The defendantshallnotincurnew creditchargesoropen additionallinesofcreditwithoutthe approvaloftheprobation officer.

4.Thedefendantshallparticipateinaprogram oftesting andtreatmentforsubstanceabuse,asapprovedbytheprobation officer,untilsuch
time asthedefendanthassatisfied allrequirementsoftheprogram .

5.Thedefendantshallresideinaresidencefreeoftirearms,amm unition,destructivedevices,anddangerousweapons.
6.Thedefendantshallsubm ittowarrantlesssearchand seizureofpersonandproperty asdirectedbythcprobationofscer,to determine
whetherthe defendantisin possession offireanns,illegalcontrolled substancesand alcohol.
          Case 4:13-cr-00021-JLK                  Document 96       Filed 11/07/14      Page 5 of 6           Pageid#: 293
AO 2458    (Rev.9/11-VAW Additions6/05)JudgmentinaCriminalCase
           Sheet5 -Crim inalM onetary Penalties
                                                                                          Judgm ent-Page        5     of       6
DEFEN DA N T: RODNEY DW AYNE JONES
CA SE N U M BER: DVAW 413CR000021-002
                                             CRIM INAL M O NETARY PENAI,TIES
     Thedefendantmustpaythetotalcrim inalmonetarypenaltiesunderthescheduleofpaymentson Sheet6.

                      Assessm ent                                 Fine                            Restitution
TOTALS             $ 100.00                                  $                                $


U-l Thedeterminationofrestitutionisdeferreduntil                 .AnAmendedludgmentinaCriminalCase(AO 245C)willbeentered
     aftersuchdeterm ination.

EEI Thedefendantmustmakerestitution(includingcommunityrestitution)tothefollowingpayeesintheamountlistedbelow.
     Ifthedefendantm akesapartialpayment,eachpayeeshallreceivean approximately proportioned paym ent,unlessspecified otherwise
     inthepriorityorderorpercentagegaymentcolumnbelow.However,pursuantto18U.S.C j3664(1),allnonfederalvictimsmustbe
     paidbeforetheUnited Statesispald.
Nam e ofPavee                                         TotalLoss*              Restitution O rdered              Prioritv orPercentaee




 TOTALS                                                            $0.00                              S0.00

     Restitution amountorderedpursuanttopleaagreement$
     Thedefendantmustpayinterestonrestitutionand afineofmorethan$2,500,unlesstherestitutionorGneispaidinfu11beforethe
     fiheenthdayafterthedateofthejudgment,pursuantto 18U.S.C.j3612(9.AllofthepaymentoptionsonSheet6maybesubject
     topenaltiesfordelinquency and default,pursuantto lsU.S.C.j3612(g).
     Thecourtdeterm inedthatthedefendantdoesnothavetheabilitytopayinterestanditisorderedthat:
     EEItheinterestrequirementiswaivedforthe I
                                             Z fine EEI restitution.
     I
     Z theinterestrequirementforthe E(J fine EEIrestitutionismodifiedasfollows:


 *Findings forthetotalamountoflossesare required underChapters 109A ,l10,1IOA,and 113A ofTitle 1: foroffensescom mitted on
 orafterSeptem ber13,1994,butbeforeA pril13,1996.
          Case 4:13-cr-00021-JLK               Document 96         Filed 11/07/14        Page 6 of 6        Pageid#: 294
AO 2458     (Rev.9/11-VAW Additions6/05)JudgmentinaCriminalCase
            Sheet6 -SchedulcofPayments                                                                            .- -



DEFENDANT: RODNEY DW AYNE JONES                                                                         Judgm ent-Page 6 of 6
CASE N UM BER:DVAW 413CR000021-002
                                                SC H ED U LE O F PA Y M EN TS
H avingassessedthedefendant'sabilitytopay,thetotalcriminalmonetarypenaltiesaredueimm ediatelyandpayableasfollows:
A X Lumpsum paymentof$100.00            immediately,balancepayable
          I
          Z notlaterthan                     ,or
          Z inaccordance     IZ C, Z D, (Z E, I     Z F or,Z Gbelow);or
B Z Paymenttobeginimmediately(maybecombinedwith Z C, Z D, Z F,or Z G below);or
  (4((
     j Paymentinequal                 (e.g.,weekly,monthly,quarterly)installmentsof$                                     overaperiodof
                          (e.g.,monthsoryears),tocommence                       (e.g.,30or60days)afterthedateofthisjudgment;or
D E(4) Paymentinequal                                (e.g.,weekly,monthly,quarterly)installmentsof$                      overaperiodof
                          (e.g.,monthsoryears),tocommence                       @.g.,30or60days)afterreleasefrom imprisonmenttoa
          term ofsupervision;or
   Eql Paymentduringthetermofsupervisedrcleasewillcommencewithin                             (e.g.,30or60days)afterreleasefrom
          im prisonment. The courtwillsetthepaym entplan based on an assessm entofthedefendant'sability to pay atthattim e;or
   j
   llj Duringthetennofimprisonment,paymentinequal                             (e.g.,weekly,monthly,quarterly)installmentsof
          $               ,or         % ofthedefendant'sincome,whicheveris greater xtocommence                     (e.g.,30or
          60days)afterthedateofthisjudgment;AND paymentinequal                        (e.g.,weekly,monthly,quarterly)
          installmentsof$                during theterm ofsupervisedrelease,tocommence                     (e.g.,30or60 days)
          afterreleasefrom im prisonm ent.
   I
   Z Specialinstructionsregardingthepaymentofcriminalmonetarypenalties:

Any installmentscheduleshallnotprecludeenforcementoftherestitt
                                                             ztionorfineorderby theUnited Statesunder18U.S.C jj36l3and
3664(11$.
Anyinstallmentscheduleissubjecttoadjustmentbythecourtatanytimeduringtheperiodofimprisonmentorsupervision,andthedefendant
shallnotifytheprobationofticerandtheU.S.Attorneyofany changeinthedefendant'seconomiccircumstancesthatmayaffectthe
defendant'sability to pay.
Allcrim inalm onetary penaltiesshallbe made payableto theClerk,U .S.DistrictCourt,210 Franklin Rd.,Suite 540,Roanoke,Virginia 24011,
fordisbursement.
The defendantshallreceive creditforallpaym entspreviously made tow ard any crim inalmonetary penaltiesim posed.
Anyobligationtopayrestitutionisjointandseveralwithotherdefendants,ifany,againstwhom anorderofrestitutionhasbeenorwillbe
entered.
  I--IJointandSeveral
      DefendantandCo-DefendantNamesand CaseNumbers(includingdefendantnumber),TotalAmount,JointandSeveralAmount,and
      corresponding payee,ifappropriate.




  I--IThedefendantshallpaythecostofprosecution.
  I--IThedefendantshallpaythefollowingcourtcostts):
  I--IThedefendantshallforfeitthedefendant'sinterestinthefollowingpropertytotheUnitedStates:




  Paymentsshallbeappliedinthefollowingorder: (1)assessment,(2)restitutionprincipal,(3)restimtion interest,(4)fineprincipal,
  (5)fineinterest,(6)communityrestitution,(7)penalties,and(8)costs,includingcostofprosecution andcourtcosts.
